   Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 1 of 9 PageID #:688



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


John G. Tevere and Judith A.           )
Tevere,                                )
                                       )
           Plaintiffs,                 )
                                       )
     v.                                )          No. 1:17-cv-2455
                                       )
                                       )
Weltman, Weinberg & Reis,              )
Co., L.P.A. and Old National           )
Bank,                                  )
                                       )
           Defendants.                 )
                                       )
                                       )


                                     Order

     Plaintiffs John and Judith Tevere have brought this action

against   defendants      Weltman,     Weinberg     &   Reis,     Co.,    L.P.A.

(“Weltman”) and Old National Bank (“ONB”), alleging violations

of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

§§ 1692, et seq., and the Illinois Consumer Fraud and Deceptive

Business Practices Act (“ICFA”), 815 ILCS §§ 505/1, et seq., and

asserting a state law claim for malicious prosecution. ONB moves

to dismiss the ICFA and malicious prosecution claims asserted

against it for failure to state a claim pursuant to Federal Rule

of Civil Procedure 12(b)(6). For the reasons that follow, I

grant the motion.
     Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 2 of 9 PageID #:689



                                         I.

       This case concerns actions that ONB and Weltman took to

collect a debt that plaintiffs allegedly owed on a mortgage

loan. ONB claims to have purchased rights to collect on the

subject loan after the originating bank ceased operations. In

2013, ONB filed a breach-of-contract action in Illinois state

court against plaintiffs seeking to collect allegedly past due

payments. ONB voluntarily dismissed that suit without prejudice

in 2014. Later that year, ONB filed another breach-of-contract

action, which the state court dismissed with prejudice in 2016

after ONB apparently failed to establish an unbroken chain of

title on the loan. Before that case was dismissed, however, ONB

filed yet another state court action, this time for foreclosure

on   plaintiffs’     mortgage.     The   foreclosure     case    was    ultimately

dismissed with prejudice in 2017 on the grounds that, because of

the prior two dismissals, it was barred under the doctrine of

res judicata and Illinois’ single-refiling rule, which permits a

plaintiff who voluntarily dismisses a lawsuit to file only one

new action within the statutory time limit. See Carr v. Tillery,

591 F.3d 909, 914 (7th Cir. 2010) (citing Illinois cases); 735

ILCS    §   5/13-217     (after     voluntarily     dismissing      a   claim,     a

plaintiff “may commence a new action within one year or within

the remaining period of limitation, whichever is greater”).



                                         2
      Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 3 of 9 PageID #:690



        Plaintiffs      filed    the    present       action     against      Weltman    in

2016,      alleging     that     the     law       firm    violated     the    FDCPA     by

attempting to collect on a debt that its client, ONB, could not

establish it was owed. After the state foreclosure action was

dismissed with prejudice, plaintiffs amended their complaint to

add the two counts against ONB that are the subject of the

present motion. In Count II, plaintiffs allege that ONB violated

the     ICFA   by   filing      the    foreclosure        action   despite      it    being

barred by Illinois’ single-refiling rule. They further allege

that ONB violated the ICFA by sending letters to plaintiffs

misrepresenting that they owed money to ONB and by filing the

second breach-of-contract action when it was aware that it did

not own the debt it sought to collect. In Count III, plaintiffs

assert a claim for malicious prosecution because, they allege,

the second breach-of-contract action and the foreclosure action

were filed and maintained without probable cause. ONB contends

that both counts fail to state a claim and should be dismissed.

                                           II.

        When considering a motion to dismiss for failure to state a

claim, I accept all well-pleaded allegations as true and draw

all reasonable inferences in favor of the plaintiff. See Heng v.

Heavner,       Beyers   &   Mihlar,     LLC,       849    F.3d   348,   351    (7th    Cir.

2017). To avoid dismissal, the complaint must set forth “enough

details about the subject-matter of the case to present a story

                                               3
      Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 4 of 9 PageID #:691



that holds together.” Swanson v. Citibank, N.A., 614 F.3d 400,

404 (7th Cir. 2010). In addition to the well-pleaded allegations

in the complaint, courts may consider documents attached to the

complaint and records subject to proper judicial notice at the

dismissal stage. Geinosky v. City of Chicago, 675 F.3d 743, 745

n.1 (7th Cir. 2012).

        ONB     argues     that    plaintiffs’        malicious      prosecution       claim

should     be       dismissed     because      plaintiffs     have    not     sufficiently

alleged special damages. To state a claim for civil malicious

prosecution          in   Illinois,       a    plaintiff     must    allege     that   “the

defendant instituted the underlying suit without probable cause

and with malice, that the former action was terminated in the

plaintiff's favor, and that as a result of the underlying action

the     plaintiff         suffered    a       special   injury       beyond    the     usual

expense, time or annoyance in defending a lawsuit.” Miller v.

Rosenberg, 749 N.E.2d 946, 952 (Ill. 2001). The special injury

requirement reflects the responsibility of courts “to maintain a

proper      balance       between     the       societal     interest    in    preventing

harassing suits and in permitting the honest assertion of rights

in [court].” Cult Awareness Network v. Church of Scientology

Int'l,        685     N.E.2d      1347,       1356   (Ill.    1997).    To     meet     this

requirement at the pleading stage, a plaintiff generally must

allege that the underlying suit caused them some “quantifiable

damage” that exceeds what other individuals defending such a

                                                 4
      Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 5 of 9 PageID #:692



suit might experience. Harmon v. Gordon, 712 F.3d 1044, 1056-57

(7th Cir. 2013). Here, plaintiffs allege that they have missed

opportunities to sell or refinance their home and had to carry

the costs of property taxes and mortgage payments as a result of

ONB’s litigation. Second Am. Compl. ¶¶ 75-76. These are costs

that     anyone     defending         a    foreclosure         action    could       reasonably

anticipate, and they are therefore inadequate to satisfy the

special        injury     requirement.           See        Harmon,    712    F.3d      at   1057

(allegations        of    lost    clients             and    inability       to   attract      new

clients did not satisfy special injury requirement); Serfecz v.

Jewel Food Stores, 67 F.3d 591, 603 (7th Cir. 1995) (allegations

of lost rental payments and the devaluation and inability to

redevelop property did not satisfy special injury requirement);

Schwartz v. Schwartz, 8 N.E.2d 668, 671 (Ill. 1937) (injury to

credit and lien against property were not evidence of a special

loss “over and above the ordinary expense and trouble attendant

upon        the      defense              of     an         ordinary         civil       suit”).

        Plaintiffs       insist       that       it    is    “irrelevant”         whether    they

suffered any special injury because ONB filed its lawsuits to

harass      them.       While    it       is     true       that   Illinois       courts     have

recognized that the filing of numerous lawsuits after a final

decision on the merits or concurrent lawsuits to harass another

person can satisfy the special injury requirement, that is not

the     case    here.     Cf.    Cult          Awareness,      685     N.E.2d      at   1356    (a

                                                  5
      Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 6 of 9 PageID #:693



“sustained onslaught of litigation” including 21 separate suits

filed over a 17-month period was enough to satisfy the special

injury rule); Shedd v. Patterson, 134 N.E. 705, 707 (Ill. 1922)

(party who filed numerous successive suits after he had his

rights      conclusively       determined       was    not    immune      to    malicious

prosecution         claim).    Plaintiffs       allege       that     ONB      filed    one

foreclosure         action    in   violation     of    Illinois’      single-refiling

rule     and   maintained      that   action     after       its    second     breach-of-

contract action had been dismissed with prejudice. This is not

the     sort   of    harassing      litigation        conduct      that   would    excuse

plaintiffs       from    pleading      special        damages.       Plaintiffs        have

therefore failed to state a claim for malicious prosecution.

        Plaintiffs’ ICFA claim fares no better, as it is barred by

Illinois’ litigation privilege. “Under Illinois law, the only

cause of action recognized for the wrongful filing of a lawsuit

is one for malicious prosecution or abuse of process.” Havoco of

Am., Ltd. v. Hollobow, 702 F.2d 643, 647 (7th Cir. 1983) (citing

Lyddon v. Shaw, 372 N.E.2d 685, 690 (Ill. App. Ct. 2d Dist.

1978)). Courts applying this rule have repeatedly dismissed ICFA

claims based on the filing of a meritless lawsuit. Rosales v.

Weltman, Weinberg & Reis Co., No. 15-CV-06943, 2017 WL 1436957,

at *5 (N.D. Ill. Apr. 24, 2017) (ICFA claim barred by Illinois’

litigation privilege); Whittler v. Midland Funding, LLC, No. 14

C 9423, 2015 WL 3407324, at *3 (N.D. Ill. May 27, 2015) (same);

                                            6
   Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 7 of 9 PageID #:694



Witbrod      v.    Blitt     &    Gaines,        P.C.,       No.    14-CV-8176,       2015       WL

1996803,     at     *3    (N.D.    Ill.     Apr.       29,    2015)    (same).       Moreover,

courts     have     recognized        that       Illinois’          litigation       privilege

protects not only the filing of lawsuits, but also statements

made in the course of litigation. Steffes v. Stepan Co., 144

F.3d   1070,       1074    (7th    Cir.     1998)       (“In       essence,    the    absolute

litigation privilege affords immunity to attorneys (and other

participants        in     the     judicial          process)       from    tort     liability

arising out of statements made in connection with litigation.”);

Maui Jim, Inc. v. SmartBuy Guru Enterprises, No. 1:16 CV 9788,

2018 WL 509960, at *4 (N.D. Ill. Jan. 23, 2018) (noting that

Illinois      courts       apply    litigation             privilege       outside       of    the

defamation context); Shuffle Tech Int'l, LLC v. Sci. Games Corp.,

No. 15 C 3702, 2015 WL 5934834, at *16 (N.D. Ill. Oct. 12, 2015)

(“[M]isrepresentations             made     in       the     course    of     prosecuting        a

meritless lawsuit do not give rise to a cause of action [under

the ICFA].”); Atkinson v. Affronti, 861 N.E.2d 251, 255 (Ill.

App.   Ct.    1st        Dist.    2006)   (applying           litigation       privilege        to

attorney demand letters); Skopp v. First Fed. Sav. of Wilmette,

545 N.E.2d 356, 360 (Ill. App. Ct. 1st Dist. 1989) (“An absolute

privilege         protects       anything        said      or      written     in    a        legal

proceeding,         including        out-of-court               communications           between

attorneys and their clients.”).



                                                 7
     Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 8 of 9 PageID #:695



       Here,    the   misrepresentations        that    plaintiffs      charge     ONB

with making all stem from ONB’s litigation conduct and thus

cannot give rise to ICFA liability. Under Illinois law, the

vehicle for plaintiffs to hold ONB responsible for filing its

allegedly meritless foreclosure and breach-of-contract actions

is a malicious prosecution claim, which plaintiffs have failed

to   sufficiently      plead      for   the   reasons    outlined    above.      They

cannot escape those pleading deficiencies by casting the same

allegations as an ICFA claim. Plaintiffs argue that, even if

ONB’s meritless suits do not trigger ICFA liability, they should

nonetheless      be   able   to    maintain     their    ICFA   cause    of   action

against ONB for the two allegedly deceptive letters ONB and

Weltman sent them in 2015. But these letters, which are attached

to   the   complaint,     are     the   types   of    communications      that     the

litigation       privilege     protects.      ONB’s     lawyers   sent    them      in

connection with debt at issue in the second breach-of-contract

action while that action was pending in state court. Plaintiffs

cannot plausibly state an ICFA claim on these allegations.

                                         III.

       Because    I   dismiss     plaintiffs’     claims    for   the    foregoing

reasons, I need not address ONB’s other arguments for dismissal.

Counts II and III of plaintiffs’ second amended complaint are

dismissed, and ONB is terminated as a defendant in this case.



                                          8
   Case: 1:17-cv-02455 Document #: 69 Filed: 06/15/18 Page 9 of 9 PageID #:696



                                      ENTER ORDER:




                                      Elaine E. Bucklo
                                      United States District Judge
Dated: June 15, 2018




                                       9
